                                UNITED STATES DISTRICT COURT
                                 UNITED STATES COURTHOUSE
                              222 N. JOHN Q. HAMMONS PARKWAY
                                 SPRINGFIELD, MISSOURI 65806

David P. Rush, Chief Magistrate Judge                                           (417) 865-3761

                                            October 18, 2022

The Honorable Beth Phillips
United States District Court
Charles Evans Whittaker United States Courthouse
400 East Ninth Street
Kansas City, Missouri 64106

Re: October 31, 2022 Joint Criminal Jury Trial Docket

Dear Chief Judge Phillips:

Magistrate Judges Epps, Counts, Morris, Gaddy and I have completed pretrial conferences for all
cases set on the October 31, 2022 Joint Criminal Jury Trial Docket. Based on the results of the
pretrial conferences, I recommend the following cases be scheduled and assigned for trial. This
letter amends and replaces the letter sent on October 17, 2022.

                                        Week of October 31, 2022

                                            KANSAS CITY
                                                                                 LENGTH/
CASE NO.                   DEFENDANTS                     TRIAL JUDGE            TRIAL DATE
22-00129-01-CR-W-RK        Theodore Watkins, Jr.          Ketchmark              2 days
                           IN CUSTODY                                            10/31 (Mon.)
Notes: Attorneys/Defendant must be present at 8:30 a.m. Jury selection at 9:00 a.m.

18-00293-CR-W-DGK          Gerald L. Ginnings (1)         Kays                   2 weeks
                           IN CUSTODY                                            11/1 (Tue.)
                           Trevor Scott Sparks (2)
                           IN CUSTODY
                           Markus Michael A. Patterson (3)
                           IN CUSTODY
Notes: Attorneys/Defendant must be present at 8:00 a.m. Jury selection at 9:00 a.m.

                                             SPRINGFIELD
                                                                                 LENGTH/
CASE NO.                   DEFENDANTS                     TRIAL JUDGE            TRIAL DATE
22-03007-01-CR-S-SRB       Jacob Sanders                  Harpool                2 days
                           IN CUSTODY                                            11/1 (Tue.)
Notes: Attorneys/Defendant must be present at 8:30 a.m. Jury selection at 9:00 a.m.



          Case 4:18-cr-00293-DGK Document 696 Filed 10/18/22 Page 1 of 2
                                       JEFFERSON CITY

                                             No trials

                                    Week of November 7, 2022

                                         KANSAS CITY
                                                                                 LENGTH/
CASE NO.                   DEFENDANTS                     TRIAL JUDGE            TRIAL DATE
21-00110-01-CR-W-HFS       Leon L. Dudley, III            Wimes                  3 days
                           ON BOND                                               11/7 (Mon.)
Notes: Attorneys/Defendant must be present at 8:30 a.m. Jury selection at 9:00 a.m.

21-00167-01-CR-W-DGK       David T. Thompson              Bough                  3.5 days
                           IN CUSTODY                                            11/7 (Mon.)
Notes: Attorneys/Defendant must be present at 8:30 a.m. Jury selection at 9:00 a.m.

                                         SPRINGFIELD

                                             No trials

                                       JEFFERSON CITY

                                             No trials

         If you have any questions, please contact me at your convenience.

                                                       Sincerely,
                                                       /s/ David P. Rush______________
                                                       DAVID P. RUSH
                                                       United States Magistrate Judge

cc via e-mail:
Honorable D. Gregory Kays             Honorable Jill A. Morris      Ms. Terri Moore
Honorable Brian C. Wimes              Honorable W. Brian Gaddy      Mr. Gary Broyles, Jr.
Honorable M. Douglas Harpool          Honorable John T. Maughmer    Probation/Pretrial Services
Honorable Stephen R. Bough            Honorable Robert E. Larsen    Mr. Jeff Valenti
Honorable Roseann A. Ketchmark        Honorable Sarah W. Hays       United States Marshal
Honorable Howard F. Sachs             Ms. Paige Wymore-Wynn         All Courtroom Deputies
Honorable Dean Whipple                Mr. Randall Henderson         All Judicial Assistants
Honorable Fernando J. Gaitan, Jr.     Ms. Laura Bax                 Ms. Kathy Calvert
Honorable Gary A. Fenner              Ms. Robin Jones               Ms. Karen Graves
Honorable Nanette K. Laughrey         Ms. Elvia Farley              Ms. Cheryl Labrecque
Honorable Willie J. Epps, Jr.         Ms. Stacy O’Connor            Ms. Netra Sreeprakash
Honorable Lajuana M. Counts           Mr. Steve Burch               Ms. Rebecca Suroff




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           Case 4:18-cr-00293-DGK Document 696 Filed 10/18/22 Page 2 of 2
